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                         UNITED STATES DISTRICT COURT FOR THE
                              WESTERN DISTRICT OF TEXAS
                                   EL PASO DIVISION


ROBERT K. HUDNALL,               §
                                 §
     Plaintiff,                  §
                                 §
v.                               §                    Civil Action No. 3:22-cv-00036-KC
                                 §
STATE OF TEXAS, CITY OF EL PASO, §
TEXAS, JUDGE SERGIO ENRIQUEZ,    §
ALEJANDRO C. RAMIREZ, TYRONE     §
SMITH, dba as SMITH AND RAMIREZ §
RESTORATION LLC, GUY BLUFF, THE §
AMERICAN ARBITRATION             §
ASSOCIATION, AND EVANSTON        §
INSURANCE COMPANY,               §
                                 §
     Defendants.                 §


         DEFENDANTS ALEJANDRO C. RAMIREZ, TYRONE SMITH AND
   SMITH AND RAMIREZ RESTORATION, LLC’S RESPONSE TO PLAINTIFF'S
              SECOND MOTION FOR DECLARATORY JUDGMENT
 _____________________________________________________________________________

TO THE HONORABLE JUDGE OF SAID COURT:

        COME NOW Alejandro C. Ramirez, Tyrone Smith and Smith and Ramirez

Restoration LLC (hereinafter collectively referred to as the "Defendants") and file this Response

to Plaintiff's Second Motion for Declaratory Judgment and would respectfully show the Court as

follows:

                                                I.
                                           Introduction

1.      This lawsuit is the latest iteration in a string of similar lawsuits filed by Plaintiff. See

Hudnall v. Smith & Ramirez Restoration, L.L.C., No. 08-17-00293-CV, 2020 WL 401840

(Tex.App.—El Paso, Jan. 24, 2020); Hudnall v. Smith & Ramirez Restoration, L.L.C., No. 08-19-

00217-CV, 2019 WL 4668508 (Tex.App.—El Paso, Sept. 25, 2019, no pet.)(mem. op.); Robert K.

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Hudnall and Sharon Elias Hudnall v. Ty Smith, et al., No. EP-21-CV-00106-FM, 2021 WL

3744580 (W.D. Tex. Aug. 10, 2021)(notice of appeal filed).

2.      Plaintiff filed this lawsuit in state court asserting claims under, inter alia, the U.S.

Constitution, the Americans with Disabilities Act (“ADA”), and the ADA Amendments Act of

2008 (“ADAAA”). See Pl.'s Orig. Pet.

3.      Plaintiff then filed his first Amended Petition on December 20, 2021. Although cited to

within the text of the Amended Petition, no exhibits were attached to Plaintiff's Amended Petition.

See Pl.'s Am. Pet.

4.      Next, Plaintiff filed his Motion for Declaratory Judgment on February 28, 2022 to which

Defendants filed their response on March 14, 2022. See Doc. 18 and Doc. 31.

5.      Subsequently, Plaintiff filed his Second Motion for Declaratory Judgment on March 7,

2022. See Doc. 26.

6.      For the reasons stated below, this Court should deny Plaintiff's Second Motion for

Declaratory Judgment.

                                     II. LEGAL STANDARD

7.      Under Rule 57, a litigant may bring an action seeking declaratory judgment. An action for a

declaratory judgment is “an ordinary civil action.” Int’l Bhd. of Teamsters v. E. Conf. of Teamsters,

160 F.R.D. 452, 456 (S.D.N.Y. 1995) (citing 10A Charles A. Wright, Arthur R. Miller & Mary Kay

Kane, Federal Practice and Procedure §2768 (1983) (“The incidents of pleading, process, discovery,

trial, and judgment are the same.”) (internal citations omitted)). Because an action for a declaratory

judgment is an ordinary civil action, a party may not make a motion for declaratory relief, but rather,

the party must bring an action for declaratory judgment. Id. (internal citations omitted).




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                                         III. ARGUMENT

8.        In his motion, Plaintiff seeks relief for a declaratory judgment “[u]nder the Provisions of

Federal Rules of Civil Procedure, Rule 57.” [ECF No. 18]. Because Plaintiff seeks a declaratory

judgment, and because Rule 57 governs an action for a declaratory judgment, Plaintiff must

comply with Rule 57’s requirements. Int’l Bhd., 160 F.R.D. at 455. Because Plaintiff has made a

motion seeking declaratory relief, Plaintiff’s motion should be denied because such a motion is

inconsistent with the Federal Rules. Because Plaintiff’s claim for declaratory judgment is a claim

for affirmative relief, he bears the burden of proof. Plaintiff is required to present evidence at trial

or via a Motion for Summary Judgment to be entitled to that relief. Because he has not presented

that evidence via the appropriate procedural vehicle, the Court should deny the motion.

9.      To the extent Plaintiff’s Motion for Declaratory Judgment is interpreted as a Motion for

Summary Judgment, it should be denied because disputed issues of material fact preclude

summary judgment in favor of Plaintiff. Defendants filed a general denial in state court before this

matter was removed to this Court. See Doc. 1, Ex. 1, Defendants Alejandro C. Ramirez, Tyrone

Smith and Smith and Ramirez Restoration LLC's Original Answer. Pursuant to Fed. R. Civ. P.

81(c)(2), repleading is unnecessary unless the court orders it. Here, this Court has not ordered, nor

is there any standing order requiring, Defendants to replead upon removal of a state court action

to this Court. As a result, Defendants' general denial is Defendants' live pleading. See Doc. 1, Ex.

1, Defendants Alejandro C. Ramirez, Tyrone Smith and Smith and Ramirez Restoration LLC's

Original Answer. It is well established law that a general denial puts the plaintiff on proof of every

fact essential to his case and issue is joined on all material facts asserted by plaintiff, except those

which are required to be denied under oath. Shell Chem. Co v. Lamb, 493 S.W.2d 742, 744

(Tex.1973). Stated differently, Defendants have denied each and every claim by Plaintiff and the

burden is now on Plaintiff to prove the same. As a result, every single issue of material fact asserted

by Plaintiff is currently in dispute. Therefore, Plaintiff's Motion should be denied. Alternatively,
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if the Court does not accept Defendants' General Denial, Defendants would ask the Court grant

Defendants time to file an Answer in this Court that complies with the Federal Rules of Civil

Procedure before ruling on Plaintiff's Motion.

10.      In addition, the very facts as stated by Plaintiff in his Original Petition and Amended

Petition are contradictory and create fact issues in and of themselves. See Pl.'s Orig. Pet. and Pl.'s

Am. Pet. For example, Plaintiff claims that Defendants did not properly repair his roof and he

suffered damages as a result. Id. However, Plaintiff explicitly states in both petitions that the roof

passed inspection, albeit by an alleged conspiracy. Id. at ¶ 88. Furthermore, the evidence cited by

Plaintiff in his Original Petition creates fact issues sufficient to deny Plaintiff's Motion. For

example, Exhibit D to Plaintiff's Original Petition explicitly states, "October 30, 2014: An

inspection was conducted by Inspector Wells. The inspection was passed." Ex. D to Pl.'s Orig. Pet.

As a result, the very evidence cited by Plaintiff in his Original Petition creates fact issues. As a

result, Plaintiff's Motion for Judgment on the Pleadings should be denied.

11.      Pleading in the alternative, Defendants would show Plaintiff’s claims are barred by res

judicata and collateral estoppel.

12.      Every single cause of action brought by Plaintiff in this lawsuit directly arises from

Plaintiff's breach of contract claim which he brought against Defendants in the Arbitration

Proceeding. See Plaintiff's Original Petition and Ex. K. As more thoroughly outlined above, this

cause of action was already decided on the merits in favor of Defendants. See Ex. O. Therefore,

the evidence has shown that there is no probability that Plaintiff will prevail on these same claims

in the instant lawsuit. See Ex. O.

      Plaintiff is attempting to relitigate issues that were determined adversely against him.

13.      Each of the issues alleged by Plaintiff arise from the contract entered into by Plaintiff and

S&R back in 2015. These issues were actually litigated in the Arbitration proceeding and decided

in favor of Defendants. See Ex. O. Plaintiffs latest lawsuit, and the myriad of cause of action
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asserted therein, is merely an attempt to re-frame and re-litigate those same issues that have already

been decided against him. Id.

14.     Defendants Alejandro C. Ramirez and Tyrone Smith collectively own Smith and Ramirez

Restoration LLC (sometimes referred to collectively as the "Defendants"). On June 9, 2014

Plaintiff Robert K. Hudnall and his spouse, Sharon Hudnall, entered into an agreement with

Defendant Smith and Ramirez Restoration LLC ("S&R") for the repair of Plaintiff's home (the

"Contract"). See Ex. A. After S&R completed the repairs to Plaintiff's home, Plaintiff refused to

pay S&R in accordance with the Contract. As a result, S&R filed suit against Plaintiff on April 3,

2015 in El Paso County, Texas to recover the amount owed to it by Plaintiff in a case styled

2015DCV1113 (the "Original Lawsuit") before the Honorable Judge Sergio Enriquez, who is also

a named Defendant herein. This is the first lawsuit in a long string of related lawsuits spanning

from April 3, 2015 to present day. The Original Lawsuit, along with each and every subsequent

lawsuit, appeal, and arbitration proceeding directly arises from the above facts.

15.     The second related lawsuit was filed by Old Republic Surety Company ("ORSC") on

October 30, 2015, cause number 2015DCV3677 (the "Interpleader Lawsuit") before the Honorable

Judge Javier Alvarez. See Ex. B. This lawsuit was an interpleader action by ORSC. Id. ORSC

sought to deposit the amount of S&R's performance bond, $25,000.00, into the registry of the

Court. Id. The Interpleader Lawsuit was never joined with the Original Lawsuit. As a result, S&R

filed a Petition in Intervention in the Interpleader Lawsuit in order to advise Judge Alvarez of the

pending Original Lawsuit. See Ex. C. On June 17, 2016, Judge Alvarez issued an Order Granting

ORSC interpleader, awarded ORSC its attorneys fees, and then directed the remaining parties

(including Plaintiff and S&R, among others) to proceed on the merits of their respective

claims and defenses. See Ex. D. Specifically, the Order stated, "this claim shall continue on the

merits between Robert Hudnall, Benjamin Stevens, and Smith and Ramirez Restoration,

LLC to determine their respective rights to any remaining funds on deposit in the registry
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of the Court." Id. The language of the above order clearly indicates that, at that time, there had

been no decision on the merits. Subsequently, on February 22, 2018, following more than 20

months of inactivity, Judge Alvarez issued an Order Setting a Dismissal Hearing. No objection

was filed by any of the remaining parties and the Interpleader Case was dismissed without

prejudice on March 26, 2018 without there ever being a final decision on the merits. See Ex.

E.

16.     Roughly 16 months later, and despite the fact that the Interpleader Lawsuit had already

been dismissed, Plaintiff filed an Amended Motion for Declaratory Judgment. See Ex. F. Plaintiff's

Amended Motion for Declaratory Judgment asked for the full amount of the $25,000.00

performance bond that had been deposited into the registry of the Court by ORSC. Id. In response

to Plaintiff's Amended motion for Declaratory Judgment, Judge Alvarez conducted a hearing at

which time attorney Michael J. Zimprich and Plaintiff appeared. S&R did not appear at this hearing

due to lack of notice. See Ex. G. The Court's Order Setting Hearing dated July 2, 2019 reflects

service only on Kendal B. Reed (attorney for ORSC), Richard Deck (former attorney for Plaintiff),

and Michael J. Zimprich (Attorney for Benjamin Stevens). Id. Following the hearing, Plaintiff and

Michael J. Zimprich prepared a form Amended Order Returning Cash Bond for presentment to the

Court wherein Michael J. Zimprich identified himself as the "Attorney for Old Republic," although

he was not in fact ORSC's attorney, and then obtained the "approval" of Plaintiff for the Order.

See Ex. H. Notably absent on this proposed Order was approval by S&R. Id. Mr. Zimprich and

Plaintiff then presented the Amended Order Returning Cash Bond to Judge Alvarez for signature.

Since the case was previously dismissed for want of prosecution, and having been presented with

an "approved" form of Order from the "Attorney for the Plaintiff," Judge Alvarez did exactly that

which one would expect and entered an order returning the balance of the interpleaded funds to

Mr. Zimprich, the purported attorney for ORSC, on July 17, 2019. Id.


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17.     In the meantime, after a lengthy period of inactivity, the Court in the Original Lawsuit

granted S&R's Motion to Invoke Preemptive Arbitration Clause. See Ex. I. This decision was

appealed by Plaintiff to the Fifth Court of Appeals in cases No. 08-19-00217-CV and No. 08-19-

00293-CV. The lower court's decision to order the parties to arbitration was upheld on both

appeals. Id. Eventually, the parties attended an arbitration (the "Arbitration") with the American

Arbitration Association, a Defendant herein, with Guy Bluff, also a Defendant herein, serving as

Arbitrator. Prior to the final arbitration hearing, Plaintiff asserted an Objection to Arbitration

wherein he made the same claims he makes in this lawsuit - that S&R's causes of action are barred

by the doctrine of res judicata and collateral estoppel, based on the fact that the Court in the

Interpleader Lawsuit returned the cash bond to the alleged attorney for ORSC, Mr. Zimprich. See

Ex. H. Additionally, Plaintiff also counter-claimed for damages to his home and to his person

caused by the alleged defective repairs made by S&R. See Ex. J.

18.     Plaintiff's Objection to Arbitration was overruled based on the above cited language in

Judge Alvarez's Order ("this claim shall continue on the merits…") and on the simple fact that no

trial on the merits ever took place in the Interpleader Lawsuit. See Ex. J and E. In response to

Plaintiff's Objection to Arbitration, the Arbitrator held that, …"Hudnall's arguments that Judge

Alvarez has issued a FINAL ruling on the merits thus precluding this Arbitration is not supported

by the evidence." See Ex. L. The Arbitrator further stated, "Hudnall attempts to now capitalize on

what can be nothing less than fraud upon the court and now seeks to avoid an agreed upon and

Court Ordered Arbitration based on the principals of res judicata and collateral estoppel." Id. Not

coincidentally, all of Plaintiff's claims against S&R in the current lawsuit are the same claims, or

arise from the same claims, that Plaintiff made, or could have made, in the Arbitration proceeding

- that S&R's claims against him are barred by collateral estoppel and res judicata based upon the

court's decision to return the interpleaded funds to Mr. Zimprich in the Interpleader Lawsuit. See

Plaintiff's Amended Petition.
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19.       With Plaintiff's Objection to Arbitration now thoroughly denied, the Arbitration was

scheduled to take place June 16, 2021. However, it was vacated to accommodate Plaintiff filing a

subsequent Complaint in the County Court at Law 6, El Paso County, which was them removed

to the United States District Court for the Western District of Texas, (the "Third Lawsuit") Cause

No. 3:21-CV-00106 before the honorable Judge Montalvo. See Ex. M. There, based on the same

facts before this Court, Plaintiff alleged an assortment of civil RICO violations, breach of contract,

fraud, and conspiracy against, inter alia, the same Defendants who are presently before this Court.

See Ex. N. and Plaintiff's Original Petition. There, Plaintiff claimed that S&R did not properly

repair his roof and that S&R then conspired with the other Defendants to prevent Plaintiff from

receiving the justice he believes he deserved. See Ex. N. The majority of these claims have already

been dismissed.

20.       In the meantime, the Arbitration between Plaintiff and S&R, as ordered in the Original

Lawsuit, was held on October 18, 2021. See Ex. O. Plaintiff did not bother to attend the Arbitration,

despite receiving the required notice. Id. During the final Arbitration, the Arbitrator found that

"S&R completed all contracted for work in a timely and workmanship manner…" Id. Furthermore,

the Arbitrator found that Plaintiff materially breached its contractual obligations with S&R by

failing to pay the amount it was still owed for the roofing work. Id. All of Plaintiff's

counterclaims against S&R, which were again based on alleged roofing defects, the same

facts which form the basis of this lawsuit, were denied on the merits. S&R has filed suit in the

County Court at Law 6 to confirm the arbitration award in the case numbered 2021DCV4380. See

Ex. P.

21.       All of the above lawsuits, appeals, and arbitration have led us to the lawsuit currently before

the Court. Here, in Plaintiff's latest attempt to re-litigate issues that have already been decided on

the merits, Plaintiff alleges causes of action against S&R, Mr. Smith, and Mr. Ramirez for Fraud,

Elder Abuse, Exploitation, Abuse of Process, Invasion of Privacy, Breach of Contract, Forgery,
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Conspiracy, Extortion, and Bribery. See Plaintiff's Amended Petition. Every single one of these

claims arises from the same underlying facts which were the basis of Plaintiff's previous lawsuits

and counterclaims – the repair of Plaintiff's home by S&R. See Plaintiff's Original Lawsuit; Ex. J;

Ex. N. In direct contravention to the Arbitrator's findings on the merits, Plaintiff again alleges that

S&R did not correctly repair his home and thereby breached its contract with him. See Plaintiff's

Original Petition; Ex. O. Plaintiff also tries to relitigate his collateral estoppel and res judicata

arguments based on the court in the Interpleader Lawsuit returning the interpleaded funds to Mr.

Zimprich. See Plaintiff's Original Petition. Therefore, Plaintiff’s Motion requesting this Court to

declare that the roof did not meet code, and that the doctrines of res judicata applies should be

denied.

          Plaintiff's request that he be allowed leave to appeal directly to the Fifth Court of Appeals
          is without merit and should be denied.

22.       Lastly, Plaintiff argues that this Court, and prior subsequent Courts, have violated his right

to due process of law and denied him meaningful access to the courts. Plaintiff does not cite to any

statutes, case law, or any other authority in support of this argument. Further, as outlined above,

and more thoroughly detailed in Defendants' Motion to Declare Plaintiff a Vexatious Litigant

(Doc. 34), it is clearly evident that Plaintiff has had continuous access to the courts, and to an

arbitration proceeding, since 2015. Plaintiff's argument that he has been denied due process of law

and meaningful access to the Courts is therefore without merit and should be denied.

                                                 IV.
                                              Conclusion

          WHEREFORE, PREMISES CONSIDERED, Defendants Alejandro C. Ramirez,

Tyrone Smith, and Smith and Ramirez Restoration LLC respectfully pray that the Court deny

Plaintiff's Second Motion for Declaratory Judgment and for such other and further relief, general

and special, legal and equitable, to which Defendants may be justly entitled.


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                                             Respectfully submitted,

                                             MOUNCE, GREEN, MYERS,
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                                       By:    /s/ James A. Martinez
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                                             martinezja@jmeplaw.com

                                             Attorneys for Defendants Alejandro C. Ramirez,
                                             Tyrone Smith and Smith and Ramirez Restoration,
                                             LLC




                                CERTIFICATE OF SERVICE

         In compliance with Texas Rule of Civil Procedure 21a (e), I, James A. Martinez, hereby
certify that on the 21st day of March, 2022, a true and correct copy of the foregoing document was
sent via ECF to the following parties or attorney(s,) to: Nicole J. Anchondo,
AnchondoNJ@elpasotexas.gov, P.O. Box 1890, El Paso, Texas 79950-1890; Scot Graydon,
Assistant Attorney General, Scot.Graydon@oag.texas.gov, Office of the Attorney General, PO
Box 12548, Capitol Station, Austin, Texas 78711-2548, and Raymond D. Martinez,
raymond@martinezlawyers.com; Martinez & Martinez Law Firm, PLLC, 2110 E. Yandell Dr., El
Paso, Texas 79903.

        and

Sent via certified mail to:

Robert K. Hudnall
5823 N. Mesa, #839
El Paso, Texas 79912
# 7021 0350 0001 8981 4085

on this the 21st day of March, 2022.

                                              /s/ James A. Martinez
                                             James A. Martinez



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